889 F.2d 1087
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.William GROSECLOSE, Plaintiff-Appellant,v.Cletus McWILLIAMS, Executive Secretary of the TennesseeSupreme Court, Defendant-Appellee.
    No. 89-5867.
    United States Court of Appeals, Sixth Circuit.
    Nov. 20, 1989.
    
      1
      Before WELLFORD and DAVID A. NELSON, Circuit Judges, and RICHARD SUHRHEINRICH, District Judge*.
    
    ORDER
    
      2
      This appeal has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      3
      A review of the record indicates that the judgment of the district court was entered June 6, 1989.  A Fed.R.Civ.P. 59(e) motion to alter judgment was served on June 19, 1989, within ten days of entry of judgment as computed pursuant to Fed.R.Civ.P. 6(a) and tolled the appeals period.  See Fed.R.App.P. 4(a)(4).  The July 5, 1989, notice of appeal filed prior to the ruling on the Rule 59(e) motion is premature.  Fed.R.App.P. 4(a)(4) provides that a notice of appeal filed before the disposition of a timely Rule 59(e) motion "shall have no effect.  A new notice of appeal must be filed within the prescribed time measured from the entry of the order disposing of the motion...."  A timely notice of appeal is mandatory and jurisdictional.    Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 61 (1982) (per curiam).
    
    
      4
      It is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Richard Suhrheinrich, U.S. District Judge for the Eastern District of Michigan, sitting by designation
      
    
    